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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_____________________________________
THE UNITED STATES OF AMERICA,           )
ex rel. MICHAEL GREER, et al.,          )
                                        )
                   Plaintiffs/Relators, )
                                        )
        v.                              )           Civil Action No. 13-326-RJL
                                        )
DYNCORP INTERNATIONAL INC., et al., )
                                        )
                   Defendants.          )
_____________________________________)


                                NOTICE OF APPEARANCE

       The Court will please take notice that Ronald A. Schechter, who is admitted to practice in

this Court, hereby enters his appearance in this matter on behalf of Defendants DynCorp

International Inc., DynCorp International LLC, Delta Tucker Holdings, Inc., and Delta Tucker

Sub, Inc.



May 28, 2015                                 Respectfully submitted,


                                             /s/ Ronald A. Schechter
                                             Ronald A. Schechter, D.C. Bar # 245019
                                             ARNOLD & PORTER LLP
                                             555 12th Street, N.W.
                                             Washington, D.C. 20004
                                             (202) 942-5160
                                             ronald.schechter@aporter.com

                                             Counsel for Defendants
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                                CERTIFICATE OF SERVICE

       I, Ronald A. Schechter, hereby certify that on this the 28th day of May 2015, I caused a

true and correct copy of the foregoing to be filed electronically using the Court’s CM/ECF

system, which will send copies to the following counsel of record:


       Joel D. Hesch                                     Brian P. Hudak
       Attorney at Law                                   Assistant United States Attorney
       3540 Ridgecroft Dr.                               555 Fourth Street, NW
       Lynchburg, VA 24503                               Washington, D.C. 20530
                                                         Counsel for the United States of America
       Joseph M. Callow
       Keating Muething & Klekamp PLL
       One East Fourth Street, Suite 1400
       Cincinnati, OH 45202
       Counsel for Relators



I further caused the remaining counsel of record and party to be served by first-class mail at the

following addresses:


       Gregory M. Utter                                  Onsite OHS, Inc.
       Danielle M. D’Addesa                              101 N. Hart Street
       Lori G. Heilman                                   Princeton, Indiana 47670
       Keating Muething & Klekamp PLL
       One East Fourth Street, Suite 1400                Co-defendant
       Cincinnati, OH 45202
       Counsel for Relators




                                                              /s/ Ronald A. Schechter
                                                            Ronald A. Schechter

                                                            Counsel for Defendants
